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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.1                                                Case No. 23-10961-BLS

                                                                    (Jointly Administered)
           Debtors.


                  NOTICE TO CONTRACT PARTIES TO POTENTIALLY
              ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

YOU ARE RECEIVING THIS NOTICE BECAUSE YOU OR ONE OF YOUR AFFILIATES IS
A COUNTERPARTY TO AN EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH
ONE OR MORE OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

PLEASE TAKE NOTICE that on August 19, 2023, the United States Bankruptcy Court for the
District of Delaware (the “Court”) entered the Order (i) Approving Bidding Procedures for the
Sale of Debtors’ Assets, (ii) Scheduling Hearings and Objection Deadlines with Respect to the
Sale, (iii) Scheduling Bid Deadlines and an Auction, (iv) Approving the Form and Manner of
Notice thereof, (v) Approving Assumption and Assignment Procedures for Executory Contracts
and Unexpired Leases, (vi) Authorizing and Approving the Debtor’s Entry into the Stalking Horse
APA, (vii) Authorizing and Approving Bid Protections, and (viii) Granting Related Relief (Dkt.
No. 196) (“Bidding Procedures Order”),2 authorizing the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) to conduct an auction (“Auction”) to select the party to
purchase the Debtors’ assets. The Auction will be governed by the bidding procedures approved
pursuant to the Bidding Procedures Order (attached to the Bidding Procedures Order as Exhibit 1,
the “Bidding Procedures”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures, the
Debtors may assume and assign to the Successful Bidder certain of the Assigned Contracts listed
on the Assigned Contracts Schedule, attached hereto as Exhibit A, to which you are a counterparty,
upon approval of the Sale. The Assigned Contracts Schedule can also be viewed on the Debtors’

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding Procedures Order

or the Bidding Procedures, as applicable.
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Case Website (https://dm.epiq11.com/williamsindustrialservicesgroup). The Debtors have
conducted a review of their books and records and have determined that the cure amount for unpaid
monetary obligations under such Assigned Contracts is as set forth on Exhibit A attached hereto
(“Cure Costs”).

         PLEASE TAKE FURTHER NOTICE that if you disagree with the proposed Cure Costs,
object to a proposed assignment to the Successful Bidder of any Assigned Contract, or object to
the ability of the Successful Bidder to provide adequate assurance of future performance with
respect to any Assigned Contract, your objection must: (i) be in writing; (ii) comply with the
applicable provisions of the Bankruptcy Rules, the Court’s Local Rules, and any order governing
the administration of these chapter 11 cases; (iii) state with specificity the nature of the objection
and, if the objection pertains to the proposed Cure Costs, state the cure amount alleged to be owed
to the objecting Contract Counterparty, together with any applicable and appropriate
documentation in support thereof; and (iv) be filed with the Court and served so as to be actually
received by counsel to the Debtors prior to the date fourteen days after the date of this notice
at 5:00 p.m. (prevailing Eastern Time) (“Cure Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that if no objection to (a) the Cure Costs(s), (b)
the proposed assignment and assumption of any Assigned Contract, or (c) adequate assurance of
the Successful Bidder’s ability to perform is filed by the Cure Objection Deadline, then (i) you
will be deemed to have stipulated that the Cure Costs as determined by the Debtors are correct, (ii)
you will be forever barred, estopped, and enjoined from asserting any additional cure amount under
the proposed assigned Contract, and (iii) you will be forever barred, estopped, and enjoined from
objecting to such proposed assignment to the Successful Bidder on the grounds that the Successful
Bidder has not provided adequate assurance of future performance as of the closing date of the
Sale.

       PLEASE TAKE FURTHER NOTICE that any objection to the proposed assumption
and assignment of an Assigned Contract or related Cure Costs in connection with the Successful
Bid that otherwise complies with these procedures yet remains unresolved as of the
commencement of the Sale Hearing, shall be heard at a later date as may be fixed by the Court.

        PLEASE THAT FURTHER NOTICE that, notwithstanding anything herein, the mere
listing of any Assigned Contract on the Cure Notice does not require or guarantee that such
Assigned Contract will be assumed by the Debtors at any time or assumed and assigned, and all
rights of the Debtors and the Successful Bidder with respect to such executory contracts and/or
unexpired leases are reserved. Moreover, the Debtors explicitly reserve their rights, in their
reasonable discretion, to seek to reject or assume each Assigned Contract pursuant to section
365(a) of the Bankruptcy Code and in accordance with the procedures allowing the Debtors and/or
the Successful Bidder, as applicable, to designate any Assigned Contract as either rejected or
assumed on a post-closing basis.

        PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the
prepetition nature of the Assigned Contracts or the validity, priority, or amount of any claims of a
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counterparty to any Assigned Contract against the Debtors that may arise under such Assigned
Contract, (ii) creates a postpetition contract or agreement, or (iii) elevates to administrative
expense priority any claims of a counterparty to any Assigned Contract against the Debtors that
may arise under such Assigned Contract.



 Dated: August 22, 2023.                    /s/ Mark L. Desgrosseilliers
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